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                 United States Court of Appeals
                                  For the First Circuit
                                      _____________________

 No. 20-1418

                                         UNITED STATES,

                                              Appellee,

                                                   v.

                                        DOUGLAS HODGE,

                                       Defendant - Appellant.
                                       __________________

                                        ORDER OF COURT

                                        Entered: May 4, 2020

         Defendant-Appellant Douglas Hodge has filed an "Assented-to Motion to Stay Appellate
 Proceedings Pending Resolution of Related District Court Proceedings," through which he
 requests that this court stay his direct criminal appeal while the district court adjudicates his not-
 yet-filed motion pursuant to 28 U.S.C. § 2255.

          "In the absence of extraordinary circumstances, the orderly administration of criminal
 justice precludes a district court from considering a § 2255 motion while review of the direct appeal
 is still pending." United States v. Gordon, 634 F.2d 638, 638-39 (1st Cir. 1980). However, a
 district court may, upon a finding of "extraordinary circumstances," proceed to adjudicate a habeas
 petition while a direct appeal is pending. See, e.g., United States v. Diaz-Martinez, 71 F.3d 946
 (1st Cir. 1995).

         With these precepts in mind, Hodge's motion to stay is resolved as follows. This appeal
 will be temporarily stayed pending further order of court. Once the forecast § 2255 motion has
 been filed in the district court, that court promptly should enter an order reflecting its assessment
 as to whether there are "extraordinary circumstances" warranting immediate adjudication of the §
 2255 motion despite the pendency of a direct criminal appeal. The court expresses no view on this
 question. Upon notice from Hodge that the district court has made a determination, this court, in
 turn, will determine whether the appeal should be stayed pending adjudication of the § 2255
 motion.

        In the meantime, Hodge should file status reports at 30-day intervals, the first due 30 days
 from entry of this order, and also should alert the court immediately when relevant filings or rulings
 are made in the district court.
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                                            By the Court:

                                            Maria R. Hamilton, Clerk


 cc:
 Carol Elisabeth Head
 Donald Campbell Lockhart
 Karin Michelle Bell
 Andrew E. Lelling
 Kristen A. Kearney
 Stephen Emanuel Frank
 Justin David O'Connell
 Eric Rosen
 Alexia R. De Vincentis
 Leslie Wright
 Brien T. O'Connor
 Joan McPhee
 Miranda Hooker
 Ezra David Geggel
 William H. Kettlewell
 Anthony E. Fuller
 Debra Wong Yang
 Douglas Fuchs
 Elizabeth Carr Pignatelli
